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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

ROBERT DURANT : CIVIL ACTION NO.

3:18-cv-00431-VAB
Plaintiff,
v.
YALE UNIVERSITY
Defendant.

JUNE 22, 2018

 

MOTION FOR EXTENSION OF TIME

Pursuant to D. Conn. Local Rule 7(b), defendant Yale University
respectfully moves for an extension of thirty days, up to and including July 23,
2018, within which to respond to the plaintiff's pro se Complaint dated March
12, 2018. The defendant was not served with a copy of the Complaint until
June 4, 2018. The undersigned has contacted the pro se plaintiff regarding
this matter and the plaintiff consents to this request.

The defendant requires time to review and investigate these claims and

obtain necessary information before a responsive pleading can be filed. This is
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the defendant’s first motion for extension of time to respond to the Complaint,
and this matter has not been scheduled for trial.

THE DEBENDANT

By:

 

Kevjh C. Shea ct13781
CJéndenen & Shea, LLC
400 Orange St.

New Haven, CT 06511
203/787-1183

CERTIFICATION:
This is to certify that a copy of the foregoing has been sent to all required

notification parties via electronic notification, on this 22nd day of June 2018.

/

ln
CLENDENENM€& SHEA, LLC

 
